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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                 )
 ANGE SAMMA, et al.,                             )
                                                 )
                Plaintiffs,                      )
                                                 )
        v.                                       ) Civil Action No. 1:20-cv-01104
                                                 )
 UNITED STATES DEPARTMENT OF                     )
 DEFENSE and MARK ESPER, in his                  )
 official capacity as Secretary of Defense,      )
                                                 )
                Defendants.                      )
                                                 )

                                     NOTICE OF APPEAL
       PLEASE TAKE NOTICE that Defendants, United States Department of Defense and Mark

Esper in his official capacity as Secretary of Defense, hereby appeal to the United States Court of

Appeals for the District of Columbia Circuit from this Court’s August 25, 2020 Order and Judgment,

ECF No. 47, and Memorandum Opinion, ECF No. 46.
Dated: October 23, 2020                       Respectfully submitted,

                                              JEFFREY BOSSERT CLARK
                                              Acting Assistant Attorney General

                                              ANTHONY J. COPPOLINO
                                              Deputy Branch Director
                                              Federal Programs Branch

                                              /s/ Liam C. Holland
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